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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    June 13, 2021


BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     United States v. Stephen M. Calk, S1 19 Cr. 366 (LGS)

Dear Judge Schofield:

        The Government respectfully writes, pursuant to the Court’s June 10, 2021 Order (Dkt.
206), to file publicly Exhibits A, B, and C of the Declaration of Paul Schoeman submitted by the
defense to the Court in connection with the defendant’s motion in limine to preclude the testimony
of Randall L. Rigby (Dkt. 190). 1 The redacted exhibits are attached.


                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             United States Attorney

                                         by: /s/ Paul M. Monteleoni
                                             Paul M. Monteleoni
                                             Hagan C. Scotten
                                             Alexandra N. Rothman
                                             Assistant United States Attorneys
                                             (212) 637-2219/2410/2580

cc: Counsel of Record (via ECF)



1
 The Government notes that this Declaration, which was submitted with its unredacted exhibits
by the defense under seal, has not been publicly filed. The Government has no objection to the
defendant publicly filing this Declaration.
